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                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

 IN RE: AT&T INC. CUSTOMER DATA
 SECURITY BREACH LITIGATION                           Case No. 3:24-cv-00757-E

                                                    MDL DOCKET NO. 3:24-md-
 This Document Relates to All Cases                        03114-E

                       PRELIMINARY APPROVAL ORDER

       WHEREAS, this Action 1 is a putative class action before this Court;

       WHEREAS, Plaintiffs, individually, and on behalf of the proposed Settlement

 Classes, and AT&T have entered into the Settlement Agreement, which is subject to

 review and approval by the Court under Federal Rule of Civil Procedure 23, and

 which, together with its exhibits, provides for a complete dismissal on the merits and

 with prejudice of the claims asserted in the Action against AT&T should the Court

 grant Final Approval of the Settlement;

       WHEREAS, Plaintiffs filed an unopposed motion requesting entry of an order

 to: (1) conditionally certify the Settlement Classes; (2) appoint Plaintiffs as Class

 Representatives; (3) appoint W. Mark Lanier, Chris Seeger, Shauna Itri, Jean Martin,

 James Cecchi, and Sean Modjarrad as AT&T 1 Class Counsel, and J. Devlan

 Geddes, Raph Graybill, John Heenan, Jeff Ostrow, and Jason S. Rathod as AT&T 2


 1
   The capitalized terms herein have the same meanings as those defined in Section
 II of the Settlement Agreement, a copy of which is attached to the Motion for
 Preliminary Approval as Exhibit A.

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 Class Counsel; (4) preliminarily approve the Settlement; (5) approve the Notice

 Program and Notices and direct that Notice be sent to the Settlement Classes; (6)

 approve the Claim Form and Claims Process; (7) approve the Settlement’s opt-out

 and objection procedures; (8) appoint Kroll Settlement Administration, LLC, as the

 Settlement Administrator; (9) stay all deadlines in the Action pending Final

 Approval of the Settlement; (10) enjoin and bar all members of the Settlement

 Classes from initiating or continuing in any litigation or arbitration or asserting any

 claims against AT&T and the Released Parties arising out of, relating to, or in

 connection with the Released Claims prior to the Court’s decision to grant Final

 Approval of the Settlement; and (11) set a date for the Final Approval Hearing; and

       WHEREAS, the Court having reviewed the Motion along with the Settlement

 and its exhibits, finds that substantial and efficient grounds exist for entering this

 Preliminary Approval Order granting the relief requested.

       NOW, THEREFORE, IT IS HEREBY ORDERED:

       1.     Settlement Class Certification: Pursuant to Federal Rules of Civil

 Procedure Rules 23(a), 23(b)(3), and 23(e), and for purposes of settlement only, the

 Action is hereby preliminarily certified as a class action on behalf of the following

 Settlement Classes

       The AT&T 1 Settlement Class consists of:

       [A]ll living persons in the United States whose AT&T 1 Data Elements
       were included in the AT&T 1 Data Incident.

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 Excluded from the AT&T 1 Settlement Class are (a) AT&T, any entity in which

 AT&T has a controlling interest, and AT&T’s officers, directors, legal

 representatives, successors, subsidiaries, and assigns; (b) any judge, justice, or

 judicial officer presiding over this Action, and the members of their immediate

 families and judicial staff; (c) any persons who have Released Claims relating to the

 AT&T 1 Data Incident and/or the AT&T 1 Action prior to Final Approval; and (d)

 any persons who timely opt out of the AT&T 1 Settlement Class.

       The AT&T 2 Settlement Class is defined as:

       AT&T Account Owners or Line or End Users whose AT&T 2 Data
       Elements were involved in the AT&T 2 Data Incident.

 Excluded from the AT&T 2 Settlement Class are (a) AT&T, any entity in which

 AT&T has a controlling interest, and AT&T’s officers, directors, legal

 representatives, successors, subsidiaries, and assigns; (b) any judge, justice, or

 judicial officer presiding over this Action, and the members of their immediate

 families and judicial staff; (c) any persons who have Released Claims relating to the

 AT&T 2 Data Incident and/or the AT&T 2 Action prior to Final Approval; and (d)

 any persons who timely opt-out of the AT&T 2 Settlement Class.

       2.     Settlement Class Findings: The Court finds, for purposes of

 settlement only, and without any adjudication on the merits, that the prerequisites

 for certifying the Action as a class action under Federal Rules of Civil Procedure



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 23(a), 23(b)(3), and 23(e) have been satisfied, and that the Court will likely certify

 at the Final Approval stage the Settlement Classes.

       3.     As to Rule 23(a), the Court finds that: (a) the number of Settlement

 Class Members is so numerous that joinder is impracticable; (b) there are questions

 of law and fact common to the Settlement Classes; (c) the claims of the proposed

 Class Representatives are typical of the claims of the Settlement Classes; and (d) the

 proposed Class Representatives and Class Counsel have and will fairly and

 adequately represent the interests of the Settlement Classes.

       4.     As to Rule 23(b)(3), the Court finds that questions of law and fact

 common to the Settlement Classes predominate over any questions affecting

 individual members. Also, a class action is superior to other available methods for

 fairly and efficiently adjudicating the Action taking into consideration: (i) the lack

 of evidence of any intent among the Settlement Class Members to individually

 control the prosecution of separate actions; (ii) the small value of the claims of many

 of the individual Settlement Class Members making the pursuit of individual actions

 cost prohibitive for most Settlement Class Members; and (iv) the similarity of the

 Settlement Class Members’ claims involving substantially identical proofs. See Fed.

 R. Civ. P. 23(b)(3).

       5.     Preliminary Approval of the Settlement: The Court hereby

 preliminarily approves the Settlement, as embodied in the Agreement, as being fair,



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 reasonable, and adequate, and in the best interest of the named Plaintiffs and the

 Settlement Classes, subject to further consideration at the Final Approval Hearing to

 be conducted as described below. The Court finds the Agreement meets the

 considerations set forth in Rule 23(e)(2) and the Fifth Circuit’s Reed factors.

       6.     Pursuant to Fed. R. Civ. P. 23(e), the terms of the Settlement Agreement

 (and the Settlement provided for therein) are preliminarily approved and likely to be

 approved at the Final Approval Hearing because:

       (A)the class representatives and class counsel have adequately
          represented the Settlement Classes;
       (B) the proposal was negotiated at arm’s length;
       (C) the relief provided for the class is fair, reasonable, and adequate,
          taking into account:
          (i) the costs, risks, and delay of trial and appeal;
          (ii) the effectiveness of any proposed method of distributing relief
          to the class, including the method of processing class-member
          claims;
          (iii) the terms of any proposed award of attorneys’ fees, including
          timing of payment; and
          (iv) any agreement made in connection with the proposal; and
       (D) the proposal treats class members equitably relative to each other.

 Fed. R. Civ. P. 23(e)(2).

       7.     The Court also preliminarily finds the Settlement is fair, reasonable,

 and adequate considering the factors set forth in Reed v. Gen. Motors Corp., 703

 F.2d 170, 172 (5th Cir. 1983): (1) existence of fraud or collusion behind the

 settlement; (2) complexity, expense, and likely duration of the litigation; (3) stage

 of the proceedings and the amount of discovery completed; (4) probability of



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 plaintiffs’ success on the merits; (5) range of possible recovery; and (6) opinions of

 class counsel, class representatives, and absent class members. The last Reed factor

 is best addressed after the Settlement Class Members receive Notice of the

 Settlement.

       8.      Settlement Funds: The Settlement provides for two non-reversionary

 Settlement Funds consisting of: (a) $149,000,000 in cash for the benefit of the AT&T

 1 Settlement Class; and (b) $28,000,000 in cash for the benefit of the AT&T 2

 Settlement Class. The Settlement Funds will be used to pay for each class’ respective

 Settlement Class Member Benefits; Settlement Administration Costs; any Court-

 approved attorneys’ fees and costs to Class Counsel; and any Court-approved

 Service Awards to Plaintiffs for serving as Class Representatives. The Settlement

 Funds will be created and funded subject to the terms of the Settlement.

       9.      Appointment of Class Representatives and Class Counsel: The

 Court hereby finds and concludes pursuant to Fed. R. Civ. P. 23(a)(4), and for

 purposes of settlement only, that Plaintiffs are adequate class representatives and

 appoints them as Class Representatives for the Settlement Classes.

       10.     In appointing class counsel, Federal Rule of Civil Procedure 23(g)

 requires the Court to consider (1) the work counsel have done in identifying or

 investigating potential claims in the action, (2) counsel’s experience in handling

 class actions, other complex litigation, and the types of claims asserted in the action,



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 (3) counsel’s knowledge of applicable law, and (4) the resources counsel will

 commit to representing the class. Fed. R. Civ. P. 23(g)(1)(A). The Court may also

 consider any other matter pertinent to counsel’s ability to represent the class. Fed.

 R. Civ. P. 23(g)(1)(B). The Court finds that proposed Class Counsel and their law

 firms have expended a reasonable amount of time, effort, and expense investigating

 the Data Incidents. It is clear from their track records of success, as outlined in their

 resumes, that Class Counsel are highly skilled and knowledgeable concerning class

 action practice. For purposes of the Settlement only, and pursuant to Federal Rule of

 Civil Procedure 23(g)(1), the Court appoints the following individuals to act on

 behalf of the Settlement Classes with respect to the Settlement: Mark Lanier, Chris

 Seeger, Shauna Itri, Jean Martin, James Cecchi, and Sean Modjaard as AT&T 1

 Class Counsel, and J. Devlan Geddes, Raph Graybill, John Heenan, Jeff Ostrow, and

 Jason S. Rathod of Migliaccio & Rathod LLP as AT&T 2 Class Counsel.

       11.    Settlement Administrator: Class Counsel are authorized to use Kroll

 Settlement Administration, LLC as the Settlement Administrator to perform the

 Settlement Administrator’s duties as set out in the Settlement, including to supervise

 and administer the Notice Program and oversee the Claims Process, as well as to

 administer the Settlement should the Court grant Final Approval.

       12.    Approval of Notice Program and Notices: The Court approves, as to

 form and content, the Notice Program, including the Email Notice, Reminder Notice,



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 Postcard Notice, Publication Notice, and Long Form Notice substantially in the

 forms attached as exhibits to the Agreement. Non-substantive changes may be made

 to the Notices by agreement of Parties without further order of this Court. The Court

 finds that the Notice Program: (a) is the best notice practicable under the

 circumstances; (b) constitutes notice that is reasonably calculated, under the

 circumstances, to apprise Settlement Class Members of the pendency of the Action,

 the terms of the Settlement, the effect of the proposed Settlement (including the

 Releases contained therein), and their right to opt-out of or to object to the proposed

 Settlement and appear at the Final Approval Hearing; (c) constitutes due, adequate,

 and sufficient notice to all persons entitled to receive notice of the proposed

 Settlement; and (d) satisfies the requirements of Federal Rule of Civil Procedure 23,

 due process, the rules of this Court, and all other applicable law and rules. The date

 and time of the Final Approval Hearing shall be posted on the Settlement Website

 and included in the Notices before they are emailed, mailed, or published.

       13.    Claim Form and Claims Process: The Court approves the Claim Form

 as set forth in the Settlement, and the Claims Process to be implemented by the

 Settlement Administrator. The Claim Form is straightforward and easy to complete,

 allowing each Settlement Class Member to elect the alternative Settlement Class

 Member Benefits. Should the Court grant Final Approval of the Settlement,

 Settlement Class Members who do not opt-out of the Settlement shall be bound by



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 its terms even if they do not submit Claims.

       14.    Dissemination of Notice and Claim Forms: The Court directs the

 Settlement Administrator to disseminate the Notices and Claim Form as approved

 herein. Class Counsel and AT&T’s counsel are hereby authorized to use all

 reasonable procedures in connection with approval and administration of the

 Settlement that are not materially inconsistent with this order or the Settlement,

 including making, without the Court’s further approval, minor form or content

 changes to the Notices and Claim Form they jointly agree are reasonable or

 necessary.

       15.    Opt-Outs from the Settlement Classes: The Notice shall provide that

 any member of a Settlement Class who wishes to opt-out from the Settlement Class

 must request exclusion in writing within the time and manner set forth in the Notice.

 The Notices shall provide that opt-out requests must be sent to the Settlement

 Administrator and Class Counsel and be postmarked no later than October 17, 2025

 (the Opt-Out deadline). The letter requesting to opt-out must include (a) the

 Settlement Class Member’s full legal name; (b) the Settlement Class Member’s

 address, all AT&T telephone number(s) and current telephone number, and current

 email address; (c) the identity of the Settlement Class Member’s counsel, if

 represented; (d) a handwritten “wet” signature of the Settlement Class Member; (e)

 the name and number of the case; (f) if the individual is a former AT&T customer,



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 the Settlement Class Member’s AT&T account number(s) or an attestation that the

 former customer is unable to obtain their AT&T account number(s); and (g) a

 statement clearly indicating the individual wishes to be excluded from a Settlement

 Class for the purposes of the Settlement. Requests to opt-out must be made on an

 individual basis and request exclusion only for that one individual whose personal

 signature appears on the request; “mass,” “class,” or other purported group opt-outs,

 or opt-outs signed by counsel, are not permitted and are not effective. Any individual

 in the Settlement Classes who does not timely and validly request to opt-out shall be

 bound by the terms of Agreement even if he or she does not submit a Valid Claim,

 and even if he or she has pending, or subsequently initiates, litigation, arbitration, or

 any other proceeding against AT&T relating to the Released Claims. Individuals in

 the Settlement Classes who timely and validly opt-out of the Settlement do not

 release their individual claims and will not obtain any benefits under the Settlement.

       16.    Objections to the Settlement: The Notice shall also provide that any

 Settlement Class Member who does not opt-out from the Settlement Classes may

 object to the Settlement and/or the Applications for Attorneys’ Fees, Costs, and

 Service Awards. Objections must be mailed to the Clerk of the Court and filed on

 the Court’s docket and mailed to the Settlement Administrator, Class Counsel, and

 AT&T’s Counsel. For an objection to be considered by the Court, the objection must

 be submitted on behalf of a Settlement Class Member no later than October 17, 2025



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 (the Objection Deadline). When submitted by mail, an objection shall be deemed to

 have been submitted when posted if received with a postmark date indicated on the

 envelope if mailed first-class postage prepaid and addressed in accordance with the

 instructions. If submitted by private courier (e.g., Federal Express), an objection

 shall be deemed to have been submitted on the shipping date reflected on the

 shipping label. Any Settlement Class Member who does not make their objections

 in the manner and by the date set forth in the Agreement shall be deemed to have

 waived any objections and shall be forever barred from raising such objections in

 this or any other action or proceeding, absent further order of the Court.

         17.   For an objection to be considered by the Court, the objection must also

 set forth:

                  a.   the objector’s full name, mailing address, all AT&T telephone

 number(s), current telephone number; and for former AT&T customers all AT&T

 account number(s), and email address (if any) or an attestation that the former

 customer is unable to obtain their AT&T account number(s) or email address (if

 any);

                  b. all grounds for the objection, accompanied by any legal

 support for the objection known to the objector or objector’s counsel;

                  c.   the number of times the objector has objected to a class action

 settlement within the five years preceding the date that the objector files the



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 objection, the caption of each case in which the objector has made such objection,

 and a copy of any orders related to or ruling upon the objector’s prior objections

 that were issued by the trial and appellate courts in each listed case;

                  d. the identity of all counsel who represent the objector, including

 (1) any former or current counsel who may be entitled to compensation for any

 reason related to the objection to the Settlement and/or Application/s for Attorneys’

 Fees, Costs, and Service Awards; (2) a description of the counsel’s legal

 background and prior experience in connection with class action litigation; (3) a

 statement regarding whether fees to be sought will be calculated on the basis of a

 lodestar, contingency, or other method; (4) an estimate of the amount of fees to be

 sought; (5) the factual and legal justification for any fees to be sought; (6) the

 number of hours already spent by the counsel; and (7) an estimate of the hours to

 be spent in the future; and the attorney’s hourly rate.

                  e.   the number of times in which the objector’s counsel and/or

 counsel’s law firm have objected to a class action settlement within the five years

 preceding the date of the filed objection, the caption of each case in which counsel

 or the firm has made such objection and a copy of any orders related to or ruling

 upon counsel’s or the counsel’s law firm’s prior objections that were issued by the

 trial and appellate courts in each listed case in which the objector’s counsel and/or

 counsel’s law firm have objected to a class action settlement within the preceding



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 five years;

                  f.   the identity of all counsel (if any) representing the objector who

 will appear at the Final Approval Hearing;

                  g. four dates between the deadline for objections and a date two

 weeks before the Final Approval Hearing, during which the objector is available to

 be deposed by counsel for the Parties;

                  h. a list of all persons who will be called to testify at the

 Final Approval Hearing in support of the objection (if any);

                  i.   a statement confirming whether the objector intends to

 personally appear and/or testify at the Final Approval Hearing; and

                  j.   the objector’s signature (an attorney’s signature is not

 sufficient).

 Class Counsel and/or AT&T’s Counsel may conduct limited discovery, including

 taking depositions, on any objector or objector’s counsel, including taking

 depositions.

        18.     Motion for Final Approval and Application/s for Attorneys’ Fees,

 Costs, and Service Awards: Class Counsel intend to seek an award of up to one-

 third of their respective Settlement Funds as attorneys’ fees, as well as

 reimbursement of reasonable litigation costs, and Service Awards for the Class

 Representatives in the amount of $1,500.00 each to be paid from the respective



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 Settlement Funds. These amounts appear reasonable, but the Court will defer ruling

 on those awards until the Final Approval Hearing when considering Class Counsel’s

 Application/s for Attorneys’ Fees, Costs, and Service Awards.

       19.    Class Counsel shall file their Motion for Final Approval and

 Application/s for Attorneys’ Fees, Costs, and Service Awards no later than October

 3, 2025. At the Final Approval Hearing, the Court will hear argument on Class

 Counsel’s request for attorneys’ fees and costs and Service Awards for the Class

 Representatives. In the Court’s discretion, the Court also will hear argument at the

 Final Approval Hearing from any Settlement Class Members (or their counsel) who

 object to the Settlement or to the Application(s) for Attorneys’ Fees, Costs, and

 Service Awards, provided the objector(s) submitted timely objections that meet all

 of the requirements listed in the Settlement and in this order.

       20.    Termination: If the Settlement is terminated, not approved, canceled,

 fails to become effective for any reason, or the Effective Date does not occur, this

 order shall become null and void and shall be without prejudice to the rights of

 Plaintiffs, the Settlement Class members, and AT&T, all of whom shall be restored

 to their respective positions in the Action as provided in the Agreement.

       21.    Stay: All pretrial proceedings in this Action are stayed and suspended

 until further order of this Court, except such actions as may be necessary to

 implement the Settlement and this Preliminary Approval Order.



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       22.    Upon the entry of this order, with the exception of Class Counsel’s,

 AT&T’s Counsel’s, AT&T’s, and the Class Representatives’ implementation of the

 Settlement and the approval process in this Action, all members of the Settlement

 Classes, shall be provisionally enjoined and barred from asserting any claims or

 initiating or continuing in any litigation or arbitration against AT&T and/or the

 Released Parties arising out of, relating to, or in connection with the Released Claims

 prior to the Court’s decision as to whether to grant Final Approval of the Settlement.

       23.    Jurisdiction: For the benefit of the Settlement Classes and to protect

 this Court’s jurisdiction, this Court retains continuing jurisdiction over the

 Settlement proceedings to ensure the effectuation thereof in accordance with the

 Settlement preliminarily approved herein and the related orders of this Court.

       24.    Final Approval Hearing: The Court will hold a Final Approval

 Hearing on Wednesday, December 3, 2025, at 9:00 a.m. The Final Approval

 Hearing will be conducted for the following purposes: (a) to finally determine

 whether the proposed Settlement, on the terms and conditions provided for in the

 Settlement, is fair, reasonable, and adequate, and should be approved by the Court;

 (b) to determine whether an order of Final Judgment should be entered dismissing

 the Action on the merits and with prejudice; (c) to determine whether the proposed

 plan of allocation and distribution of the Settlement Fund is fair and reasonable and

 should be approved; (d) to determine whether any requested award of attorneys’ fees



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 and costs to Class Counsel and Service Awards to the Class Representatives should

 be approved; and (e) to consider any other matters that may properly be brought

 before the Court in connection with the Settlement. The Court may elect to hold the

 Final Approval Hearing virtually by Zoom or some other application, and if it does,

 the instructions on how to attend shall be posted by the Settlement Administrator on

 the Settlement Website.




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       25.    Schedule: The Court hereby sets the following schedule of events:

                       Event                                   Deadline

    Class Lists delivered to Settlement      June 30, 2025
    Administrator

    Notice Program Commencement              August 4, 2025

    Notice Program Complete                  October 17, 2025

    Deadline to file Motion for Final        October 3, 2025
    Approval and Application/s for
    Attorneys’ Fees, Costs, and Service
    Awards

    Opt-Out Deadline                         October 17, 2025

    Objection Deadline                       October 17, 2025

    Reminder Email Deadline                  October 29, 2025

    Deadline to Respond to Objections        November 18, 2025

    Deadline to Submit Claim Forms           November 18, 2025

    Final Approval Hearing                   Wednesday, December 3, 2025, at 9:00
                                             a.m., Central Standard Time




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       26.    The Court further acknowledges the following scheduled events as

 agreed by the Parties:

                      Event                                         Deadline

    Last day for AT&T to fund the initial
    portion of the AT&T 1 Escrow Account         July 3, 2025
    and the AT&T 2 Escrow Account.

    Last day for AT&T to provide Plaintiffs
    with a confidential written attestation
                                                 July 18, 2025
    outlining steps to further secure
    customer information.

    Final Report of Settlement
    Administrator regarding the number of
                                              October 22, 2025
    written requests for exclusions and other
    items.

    Last day for Defendants to notify Class
    Counsel and the Court of their intent to
    terminate this Agreement if a specified      October 31, 2025
    number of Settlement Class members
    opt-out of the Settlement

    Deadline to reply claim deficiency letter    November 18, 2025, or 20 days from date
    and provide requested information.           Notice of Deficiency sent, whichever is
                                                 later

    Settlement Administrator to provide          November 21, 2025
    report summarizing number and
    breakdown of claims.

    Settlement Administrator to provide          November 26, 2025
    declaration regarding results of Notice
    Program.




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         27.   Before the Court is Movants Osa Massen, Audrey Jones, and Susan

 Savala’s Motion to Intervene and in Opposition to Preliminary Approval of Class

 Action Settlement. (ECF No. 297). The Court has reviewed this Motion to Intervene

 and determined that it should be denied at this time—without prejudice. (ECF No.

 297).


         SO ORDERED this 20th day of June, 2025.




                               Ada E. Brown
                               UNITED STATES DISTRICT JUDGE




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